














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-10-053-CV



DENNIS GUTIERREZ
	
APPELLANT



V.



LIDDELL D. PARHAM
 	APPELLEE

 
	

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FROM COUNTY COURT AT LAW NO. 1
 OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s motion to withdraw appeal. &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
42.1(d).

PER CURIAM

PANEL: &nbsp;DAUPHINOT, GARDNER, and WALKER, JJ.



DELIVERED: &nbsp;May 6, 2010

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




